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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )       CRIMINAL ACTION
                                                  )
v.                                                )       No.    12-10085-06-MLB
                                                  )
FRANCISCO COBOS,                                  )
                                                  )
                            Defendant.            )
                                                  )

                                   MEMORANDUM AND ORDER
I.         Introduction
           This   case    comes    before the court on defendant’s pretrial
motions.      Defendant has been charged in an indictment filed on March
27, 2012, along with thirteen co-defendants.                     The indictment contains
a total of 46 counts in which this defendant is charged in 4 of those
counts.      Defendant is charged with conspiracy to distribute cocaine
and three counts of using a communications device in the commission
of a felony.        The motions are fully briefed and ripe for decision.1
A.         Motion for Bill of Particulars (Doc. 100)
       Defendant argues that the indictment is not sufficient to put him
on notice of the charges against him and fails to provide sufficient
information to understand the nature of the charges and prepare an
adequate      defense.            Defendant   seeks        the    following      additional
information: the identity of known but unidentified co-conspirators;
location of the conspiracy; the start date of the conspiracy; the acts
which form the basis of the charge; the role of defendants; the terms


       1
           Defendant did not file a reply and the deadline has now passed.
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of the agreement; and, particulars of all conversations and meetings
concerning defendant.          (Doc. 100 at 2).
       The government responds that the motion was filed prematurely as
the deadline for discovery had not passed.                    The government asserts
that it intends on supplying defendant with all necessary information,
including a power point presentation which was used when the case was
presented to the grand jury.            Defendant’s reply to the motion was due
after the government was to disclose all information to defendant.
Because defendant failed to reply, the court has no reason to believe
that the government did not comply with its duty to disclose the
materials to defendant.
       Defendant’s      motion    for   a   bill     of   particulars        is    therefore
denied.2    (Doc. 100).
B.     Identity of Confidential Informants (Doc. 104)
       Defendant moves for an order requiring the government to disclose
the    identity    of    any     confidential       informant       and/or    cooperating
individuals.      The government responds that there are no confidential
informants or cooperating individuals who are involved in the charges
concerning defendant.
       Defendant’s motion is therefore denied.                 (Doc. 104).
II.    Conclusion
       Defendant’s motions for a bill of particulars, disclosure of
grand jury materials and disclosure of confidential informants are
denied.     (Docs. 100, 101, 104).

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       Defendant’s motion for disclosure of the grand jury materials
is also denied as the government informed the court that it intended
to disclose the grand jury materials to defendant by May 12. (Docs.
101, 112).

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  IT IS SO ORDERED.
  Dated this     6th     day of June 2012, at Wichita, Kansas.


                                        s/ Monti Belot
                                        Monti L. Belot
                                        UNITED STATES DISTRICT JUDGE




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